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     Attorney for Defendant
 6   MAGGIE LUONG
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 8
 9
                              IN THE UNITED STATES DISTRICT COURT
10
                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     United States of America,                   )      Case No. CRS - 08-543 GEB
14                                               )
                                                 )
15                                               )      REQUEST FOR ORDER &
                                                 )      PROPOSED ORDER EXONERATING
16                                                      BOND
     v.                                          )
17                                               )
     MAGGIE LUONG,                               )
18                                               )
                    Defendant.                   )
19                                               )
     ____________________________________
20
21          On January 29, 2009, Ms. Luong was ordered released on a $300,000 Secured Bond. On
22   February 17, 2009, the following property was posted and a deed of trust and promissory note
23   was recorded against this property:
24
25          Property                                            Owner(s)
26          7708 38th Avenue, Sacramento, CA                    Maggie Luong
                                                                Aka Wei Ziang Liang
27
            8284 Cliffe Way, Sacramento, CA                     Juan Liang
28                                                              David Bao
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 1
 2          The above captioned matter has now been settled. It is hereby requested that the Secured
 3   bond referenced above be exonerated and that the Clerk of the District Court be directed to
 4   reconvey back to the Surities, the Deeds of Trust and Promissory Notes.
 5
 6   Dated: October 25, 2011                              /s/ Dina L. Santos
                                                          DINA L. SANTOS
 7                                                        Attorney for Defendant
                                                          MAGGIE LUONG
 8
 9                                               ORDER
10
     It is hereby ordered that the Secured bond in the amount of $300,000, posted by and secured by
11
     deeds of trust and promissory notes from the following property and persons is hereby
12
     exonerated, and that the Clerk of the District Court is directed as soon as practicable to reconvey
13
     back to the Trustor the Deeds of Trust and Promissory Notes.:
14
            7708 38th Avenue, Sacramento, CA                      Maggie Luong
15                                                                Aka Wei Ziang Liang
16          8284 Cliffe Way, Sacramento, CA                       Juan Liang
                                                                  David Bao
17   Dated: October 27, 2011
18
19                                             GARLAND E. BURRELL, JR.
20                                             United States District Judge

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